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                         UNITED STATES BANKRUPTCY COURT
                                  District of Delaware

In Re:
W.R. GRACE & CO.
7500 Grace Drive                         Chapter: 11
Columbia, MD 21044
 EIN: 65−0773649

W.R. Grace & Co., et al.

 EIN: 65−0773649                         Case No.: 01−01139−JKF



        NOTICE OF FILING OF TRANSCRIPT AND OF DEADLINES RELATED TO RESTRICTION AND
                                         REDACTION

    A transcript of the proceeding held on 5/14/2009 was filed on 6/3/2009 . The following deadlines apply:

    The parties have 7 days to file with the court a Notice of Intent to Request Redaction of this transcript. The
deadline for filing a request for redaction is 6/24/2009 .

    If a request for redaction is filed, the redacted transcript is due 7/6/2009 .

     If no such notice is filed, the transcript may be made available for remote electronic access upon expiration of the
restriction period, which is 9/1/2009 unless extended by court order.

    To review the transcript for redaction purposes, you may purchase a copy from the transcriber (name,
address/contact information) or you may view the document at the clerk?s office public terminal.




                                                                                Clerk of Court
Date: 6/3/09




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